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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:inrethemarriageoffoxvspeakerno24sc76july1,2024"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In re the Marriage of &lt;span class="ldml-name"&gt;Elyssa M. Fox&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Alexander L. Speaker&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC76&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="158" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="158" data-sentence-id="175" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CA1962&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="216" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="216" data-sentence-id="232" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="278" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="278" data-sentence-id="295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF
 JUSTICE &lt;span class="ldml-entity"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; would grant as to the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="364" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="364" data-sentence-id="380" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; may consider a relocating parent's
 admission or acknowledgement that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; will not relocate
 in the event their request is denied, prior to making the
 initial determination on that parent's relocation
 request.&lt;/span&gt;
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 &lt;/div&gt;
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